        Case 2:19-cv-04289-HB Document 12 Filed 01/11/21 Page 1 of 2




                   THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: ZOSTAVAX (ZOSTER VACCINE
 LIVE) PRODUCTS LIABILITY
 LITIGATION                                    MDL No. 2848
                                               Civil Action No. 2:18-md-02848-HB
 THIS DOCUMENT RELATES TO:

 Claude Martinez v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:20-cv-00417

 Darryl Munn v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:19-cv-04421

 Larry Northington v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:19-cv-04289

 Janet Stapley v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:20-cv-00409

                              PRETRIAL ORDER NO. 342

            AND NOW, this 11th day of January 2021, for the reasons

set forth in the foregoing Memorandum, it is hereby ORDERED

that:

            (1) the Omnibus Motion of Merck & Co., Inc. and Merck

Sharp & Dohme Corp. (“Merck”) to Dismiss cases identified in

Pretrial Order No. 328 (Doc. # 654) is DENIED as moot as to

Civil Action No. 20-00417, in which Merck agreed to withdraw the

Motion;

            (2) the Motion to Dismiss is GRANTED as to Civil

Action No. 20-00409, which plaintiff agreed to dismiss; and
      Case 2:19-cv-04289-HB Document 12 Filed 01/11/21 Page 2 of 2



         (3) the Motion to Dismiss is GRANTED as to Civil

Actions Nos. 19-04421 and 19-04289.



                                        BY THE COURT:



                                        /s/ Harvey Bartle III

                                        ______________________________
                                                                    J.




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